           Case 2:03-cr-00371-JAM Document 219 Filed 06/20/05 Page 1 of 2


 1   QUIN DENVIR, Bar #49374
     Federal Defender
 2   MARK J. REICHEL, Bar #155034
     Assistant Federal Defender
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5   Attorney for Defendant
     DWIGHT FOWLER
 6
 7
                         IN THE UNITED STATES DISTRICT COURT
 8
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,           )
11                                       ) NO. CR.S-03-371-MCE
                      Plaintiff,         )
12                                       )
          v.                             )
13                                       )      STIPULATION AND ORDER;
                                         )         EXCLUSION OF TIME
14                                       )
     DWIGHT FOWLER,                      )
15                                       ) Date: June 28, 2005
                    Defendant.             Time: 8:30 a.m.
16   _____________________________         Judge: Hon. Morrison C. England

17        IT IS HEREBY STIPULATED by and between the parties hereto through

18   their respective counsel, WILLIAM WONG, Assistant United States

19   Attorney, attorney for Plaintiff, MARK J. REICHEL, Assistant Federal

20   Defender, attorney for Defendant, that the previously scheduled status

21   conference hearing date of June 21, 2005 be vacated and the matter set

22   for status conference on June 28, 2005 at 8:30 am.

23        This continuance is requested to allow defense counsel additional

24   time to review discovery with the defendant, to examine possible

25   defenses and to continue investigating the facts of the case.

26        Accordingly, all counsel and the defendant agree that time under

27   the Speedy Trial Act from the date this stipulation is lodged, through

28   June 28, 2005, should be excluded in computing the time within which
              Case 2:03-cr-00371-JAM Document 219 Filed 06/20/05 Page 2 of 2


 1   trial must commence under the Speedy Trial Act, pursuant to Title 18
 2   U.S.C. § 3161 (H)(8)(B)(iv) and Local Code T4.
 3   DATED:     June 20, 2005.                 Respectfully submitted,
 4                                                   QUIN DENVIR
                                                     Federal Public Defender
 5
                                                     Mark J. Reichel
 6
     DATED:     June 20, 2005.                       /s/MARK J. REICHEL
 7                                                   MARK J. REICHEL
                                                     Assistant Federal Defender
 8                                                   Attorney for Defendant
 9
                                                     McGREGOR SCOTT
10                                                   United States Attorney
11
12   DATED:     June 20, 2005.                       /s/MARK J. REICHEL for
                                                     WILLIAM WONG
13                                                   Assistant U.S. Attorney
                                                     Attorney for Plaintiff
14
15                                         O R D E R
16        IT IS SO ORDERED.       Time is excluded in the interests of justice
17   pursuant to 18 U.S.C. § 3161 (H)(8)(B)(iv) and Local Code T4.
18
19   DATED: June 20, 2005
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                                             ___________________________________
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                                             MORRISON C. ENGLAND, JR
23                                           UNITED STATES DISTRICT JUDGE

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